
. In re Harrah’s Jazz Corp.; — Third Party(ies); applying for supervisory and/or remedial writs; Parish of East Baton Rouge, 19th Judicial District Court, Div. “J”, No. 448218.
Denied in part; otherwise reserved for later consideration by this Court. Applicant’s request to bypass resolution by the district court is denied. Advised that identical legal issues are pending in two cases in the district court, the cases Bean v. Louisiana Gaming Control Board &amp; Rivergate Development Corp., 448,218, (the matter currently pending before us) and Jordan v. Louisiana Gaming Control Board, 448,192, are ordered to be consolidated, and the district court is ordered to render judgment on the merits in this consolidated matter no later than Friday, April 3, 1998. We remand Bean to district court judge Calloway so that he and the judge of the division to which Jordan has been assigned can effect a consolidation. Applicant’s request to bypass the court of appeal will be reserved for consideration by this Court until after judgment is rendered by the district court.
VICTORY, J., not on panel.
